Case 2:20-cv-08035-SVW-JPR Document 123 Filed 04/20/21 Page 1 of 2 Page ID #:2218




   1

   2

   3

   4

   5

   6

   7

   8

   9

  10
                         UNITED STATES DISTRICT COURT FOR
  11
                       THE CENTRAL DISTRICT OF CALIFORNIA
  12
                                  WESTERN DIVISION
  13

  14
       HONG LIU,                         Case No: 2:20-cv-08035-SVW-JPR
  15               Plaintiff,
                                         ORDER GRANTING AND
  16                      v.             APPROVING STIPULATION FOR
                                         DISMISSAL WITH PREJUDICE OF
  17   FARADAY&FUTURE INC.,              CERTAIN CLAIMS
  18
       SMART KING LTD., JIAWEI
       WANG, and CHAOYING DENG           Judge:      Hon. Stephen V. Wilson
  19
                                         Trial Date: June 8, 2021
                   Defendants.
  20

  21
       FARADAY&FUTURE INC.,
  22
                   Counterclaimant,
  23
                          v.
  24   HONG LIU,
  25
                   Counter-Defendant.
  26

  27

  28
Case 2:20-cv-08035-SVW-JPR Document 123 Filed 04/20/21 Page 2 of 2 Page ID #:2219




   1

   2
             The Stipulation for Dismissal with Prejudice of Plaintiff’s claims for violation

   3
       of Section 10(b) of the Exchange Act and Rule 10b-5 (Count Two), fraudulent

   4
       inducement (Count Three), intentional infliction of emotional distress (Count Five)

   5
       and negligent misrepresentation (Count Six), and any relief sought under Plaintiff’s

   6
       remaining claims for physical or emotional damages, is approved and granted. The

   7
       aforementioned claims and all requests for physical or emotional damages are

   8
       dismissed with prejudice, with each party to bear its own fees and costs.

   9

  10

  11   Dated: April 20, 2021     By: _____________________________________
                                    STEPHEN V. WILSON, U.S. DISTRICT JUDGE
  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
